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 6                        UNITED STATES DISTRICT COURT

 7                                DISTRICT OF NEVADA

 8                                      * * *

 9   UNITED STATES OF AMERICA,           )
                                         )
10                      Plaintiff,       )        CR-S-02-0337-LRH(RJJ)
                                         )
11    v.                                 )        O R D E R
                                         )
12   ASATOUR MAGZANIAN,                  )
                                         )
13                      Defendant.       )
                                         )
14

15           Before the court is a request by the United States

16   Probation Office for early termination of the probation which was

17   ordered by the court of Defendant, Asatour Magzanian.              Defendant

18   Asatour Magzanian was sentenced to a term of five (5) years

19   probation commencing on the date of his sentencing on October 20,

20   2003.

21           The court has reviewed the request for early termination

22   and taken it into consideration.        While the court finds that

23   Defendant Magzanian’s compliance and success on supervision is

24   laudable, this is the very compliance and success the court

25   expected when it ordered a term of probation for five (5) years.

26           Due to the gravity of the underlying offense and related
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 1   criminal conduct, there will be no early termination of the

 2   probation ordered by the court.

 3           The request for early termination is denied.

 4           DATED this 6th day of March, 2006.

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                                         LARRY R. HICKS
 8                                       United States District Judge

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